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TOT COURT

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Attorneys for Plaintiff

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

 

 

CANNONBALL MUSICAL
INSTRUMENTS, LLC, a Utah
corporation.

COMPLAINT

Judge Dee Benson

DECK TYPE: Civil

DATE STAMP: 09/03/2003 @ 15:25:10
CASE NUMBER: 2:03CV00756 DB

Plaintiff,
v.
SUGAL MOUTHPIECES, a Rhode

Island business entity, and GARY
SUGAL, an Individual.

Jury Demanded

Name! gee eee nee eee ne are Ne Set” eee Se

Detendant.

 

Plaintiff. Cannonball Musical Instruments, LLC, through its counsel, complains of

Defendants Sugal Mouthpieces and Gary Sugal, and for its claims for relief, states as follows:

PARTIES

1. F laintiff Cannonball Musical Instruments, LLC (hereinafter “Cannonball”) is a
corporation duly organized and existing under the laws of Utah, with a principal business office
at 461 West par<land Drive, Sandy, Utah 84070.

2. Cannonball sells saxophones throughout Utah and the United States through its

distributors.

 
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3. On information and belief, Defendant Sugal Mouthpieces was at one time a
Rhode Island corporation, but is now being operated as a sole proprietorship after having its
corporate cha ‘ter revoked.

4. On information and belief, Sugal Mouthpieces has a principal! place of business at
P.O. Box 442 Swansea, Massachusetts 02777.

5. On information and belief, Defendant Gary Sugal (hereinafter “Sugal’’) is an

individual res:ding at 42 Willow Circle, Swansea, Massachusetts 02777.

JURISDICTION AND VENUE

 

6. This action arises under the trademark and unfair competition laws of the United
States. 15 U.S.C. $1051 et seq.

7. This Court has original jurisdiction over the subject matter of this action pursuant
to 15 U.S.C. €1121(a) and 28 U.S.C, §$1331 and 1338(a), and supplemental! jurisdiction over the
pendent state and common law claims arising from the same nucleus of operative facts pursuant
to 28 U.S.C. §1367(a).

8. Venue is proper in this District under 28 U.S.C. $1391(b)(2) because Defendants
have offered to sell their infringing products, which ts a substantial event giving rise to this

action, through the Internet auctioneer eBay, Inc.

GENERAL ALLEGATIONS

 

9, Plaintiff is and for many years has been engaged in the business of manufacturing,
marketing, se ling, and distributing throughout the United States saxophones bearing the
trademarks “CANNONBALL” and “BIG BELL”.

10. On or about March 22, 1996, Plaintiff adopted and began using the trademark
“CANNONBALL MUSICAL INSTRUMENTS,” in its aforesaid business tn interstate

commerce in connection with musical instruments.

 
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11. Since August 11, 1998, Plaintiff has also owned a federal trademark for the
“CANNONBALL MUSICAL INSTRUMENTS” mark (U.S. Reg. No. 2180492) in connection
with the above-cescribed goods.

12. Cnor about April 11, 1997, Plaintiff adopted and began using the trademark
“CANNONBALL MUSICAL INSTRUMENTS” plus design in its aforesaid business in
interstate commerce in connection with musical instruments.

13. Since May 26, 1998, Plaintiff has also owned a federal trademark for the
“CANNONBALL MUSICAL INSTRUMENTS” plus design mark (U.S. Reg. No. 2182320) in
connection with the above-described goods.

14. On or about January 10, 2001, Plaintiff adopted and began using the trademark
“BIG BELL,” ir: its aforesaid business in interstate commerce in connection with musical
instruments, naraely saxophones.

15. Since November 6, 2001, Plaintiff has also owned a federal trademark for the
“BIG BELL” mark (U.S. Reg. No. 2504675) in connection with the above-described goods,

16. In addition to the above-mentioned federally registered trademarks, on or about
March 22, 1996, Plaintiff adopted and began using the common law trademark CANNONBALL
in its aforeseaid business in connection with musical instruments.

17. Flaintiff has used the CANNONBALL MUSICAL INSTRUMENTS,
CANNONBALL MUSICAL INSTRUMENTS plus design, CANNONBALL and BIG BELL
marks in connection with its goods and services throughout the United States, and Plaintiff is the
owner of said marks.

18. Plaintiff has so used the above marks in connection with its business that the
public has come: to associate these marks as indicating that the goods marketed and/or associated

with such mark: originate with Plaintiff.

 
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19. Plaintiff has engaged in extensive research, development, advertising and
promotion of its goods and services, and Plaintiff has, at considerable expense, developed the
aforesaid marks, ‘ogether with a wide and valuable public recognition of its goods and services.

20. As aresult of the aforesaid research, development, advertising and promotion, a
valuable goodwil! and reputation for quality has developed, which Plaintiff now owns and which
distinguishes the goods and services of Plaintiff in the marketplace.

21. On information and belief, since at least as early as July 21, 2003, Defendants
Sugal Mouthpieces and Gary Sugal began marketing and advertising for sale a line of
saxophones unde~ the names “BIG BELL (CANNON BELL)” and “Gary Sugal Alto BIG BELL
Series HT”.

22. On information and belief, the Defendants advertised these saxophone lines
through various media, including through the online auctioneer eBay, Inc.

23. Tle saxophones manufactured, marketed, sold, and distributed by Defendants in
connection with the “BIG BELL” and the “CANNON BELL” marks and the goods
manufactured, marketed, sold, and distributed by Plaintiff in connection with its
CANNONBALL MUSICAL INSTRUMENTS, CANNONBALL and BIG BELL marks are
goods of the same general class or type, namely saxophones, and are sold through substantially
the same channels of trade to substantially the same classes of purchasers.

24. —- The foregoing acts of Defendants have caused actual confusion among members
of the public as to the respective identities of Plaintiff and Defendants, and numerous persons
now erroneously believe that Plaintiff and Defendants are either the same or are related entities,

25. Upon information and belief, the foregoing acts of trademark infringement by
Defendants are ir tentional and have been done with the intent to trade upon and to appropriate to
Defendants the sticcess, reputation, public recognition and goodwill that Plaintiff has labored to

build for its own oroducts.
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FIRST CLAIM FOR RELIEF
(Federal Trademark Infringement — 15 U.S.C. $1114 [Section 32])

 

26.  Pluntiff mcorporates by reference the allegations contained in paragraphs 1
through 25 of this Complaint as though set forth fully herein.

27. Defendants’ use of the CANNON BELL mark in connection with its line of
saxophones is likely to cause public confusion, mistake, or deception as to the source or origin of
such saxophones as a result of the overall similarity of sound, appearance and meaning of this
mark with Plainti ?’'s CANNONBALL MUSICAL INSTRUMENTS mark.

28. Upon information and belief, at the time Defendants adopted and began using the
CANNON BELL mark, Defendants had, or should have had, knowledge of the prior adoption
and use of the CANNONBALL MUSICAL INSTRUMENTS mark by Plaintiff for its competing
line of saxophones.

29. Upon information and belief, Defendants adopted the CANNON BELL mark in
an effort and attenipt to trade upon and appropriate the goodwill, reputation, and public
recognition of Plaintiff's mark.

30. Detendants’ conduct constitutes federal trademark infringement under 15 U.S.C,
$1114 and entitles Plaintiff to relief.

31. The conduct of Defendants will continue, and Plaintiff has suffered and will
continue to suffer jtreat and irreparable injury as a result of such conduct unless Defendants are
restrained by this Court. Plamtiff has no adequate remedy at law.

32.  Incommitting these acts, Defendants acted willfully with fraud, malice, and/or a
knowing and reckl2ss indifference toward, and a disrespect of, the rights of others, and
Defendants are hable to Plaintiff for treble damages, pursuant to 15 U.S.C. §1117 (a).

SECOND CLAIM FOR RELIEF
(Federal Trademark Infringement — 15 U.S.C. §1114 [Section 32})

 

 
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33. Plaintiff incorporates by reference the allegations contained in paragraphs 1
through 32 of this Complaint as though set forth fully herein,

34, D2fendants’ use of the BIG BELL mark in connection with its line of saxophones
is likely to cause public confusion, mistake, or deception as to the source or origin of such
saxophones as a cesult of the overall similarity of sound, appearance and meaning of these marks
with Plaintiff's EG BELL mark.

35. Upon information and belief, at the time Defendants adopted and began using the
BIG BELL mark, Defendants had, or should have had, knowledge of the prior adoption and use
of the BIG BELI. mark by Plaintiff for its competing line of saxophones.

36. Upon information and belief, Defendants adopted the BIG BELL mark in an
effort and attempt to trade upon and appropriate the goodwill, reputation, and public recognition
of Plaintiff's mark.

37. Defendants’ conduct constitutes federal trademark infringement under 15 U.S.C.
§1114 and entitles Plaintiff to relief.

38, Tie conduct of Defendants will continue, and Plaintiff has suffered and will
continue to suffer great and irreparable injury as a result of such conduct unless Defendants are
restrained by this Court. Plaintiff has no adequate remedy at law.

39. Ir committing these acts, Defendants acted willfully with fraud, malice, and/or a
knowing and recless indifference toward, and a disrespect of, the rights of others, and

Defendants are liable to Plaintiff for treble damages, pursuant to 15 U.S.C. $1117 (a).

THIRD CLAIM FOR RELIEF
(False Designation of Origin — 15 U.S.C. §1125 (a) [Section 43])

 

40. Plaintiff incorporates by reference the allegations contained in paragraphs 1

through 39 of this Complaint as though set forth here in full.

 
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Al, Defendants’ use of the CANNON BELL and BIG BELL marks is likely to cause
confusion, or to cause mistake, or to deceive as to the affiliation, connection, or association of
Defendants with Plaintiff as well as to the origin, sponsorship, or approval of Defendants’ goods,
services, or commercial activities by Plaintiff, in violation of 15 U.S.C. §1125(a) (Lanham Act
§43(a)).

42. Tvefendants’ activities have caused and will continue to cause great and
irreparable injury to Plaintiff and to its goodwill and reputation, and unless said acts are
restrained by this Court, they will be continued, and Plaintiff will continue to suffer great and
irreparable harm. Plaintiff has no adequate remedy at law.

43. In committing these acts, Defendants acted willfully with fraud, malice, and/or a
knowing and reckless indifference toward, and a disrespect of, the rights of others, and

Defendants are liable to Plaintiff for punitive and exemplary damages.

FOURTH CLAIM FOR RELIEF
(Common Law Trademark Infringement)

44. Plaintiff incorporates by reference the allegations contained in paragraphs 1
through 43 of this Complaint as though set forth here in full.

45. The CANNONBALL MUSICAL INSTRUMENTS, CANNONBALL and BIG
BELL marks, as used by Plaintiff, are inherently distinctive and are protectable as common law
marks.

46. ‘The saxophone goods marketed by Plaintiff and associated with the
CANNONBALI MUSICAL INSTRUMENTS, CANNONBALL and BIG BELL marks are sold
through the sam2 channels of commerce and to the same classes of purchasers as the goods of
Defendants, which are marketed and associated with the confusingly similar CANNON BELL

and BIG BELL marks.

 
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47. Defendants’ use of the CANNON BELL and BIG BELL marks in connection
with their line of saxophones is likely to cause public confusion, mistake, or deception as to the
source or origin of such goods.

48. Upon information and belief, at the tme Defendants adopted and began using the
CANNON BELL and BIG BELL marks, Defendants had, or should have had, knowledge of the
prior adoption and use of the CANNONBALL MUSICAL INSTRUMENTS, CANNONBALL
and BIG BELL marks by Plaintiff.

49, Upon information and belief, Defendants adopted the CANNON BELL and BIG
BELL marks 11 an effort and attempt to trade upon and appropriate to themselves the goodwill,
reputation, anc public recognition of Plaintiff associated with the CANNONBALL MUSICAL
INSTRUMENTS, CANNONBALL and BIG BELL marks.

50. Defendants’ conduct constitutes common law trademark infringement and entitles
Plaintiff to relief.

51. The conduct of Defendants will continue, and Plaintiff has suffered and will
continue to suifer great and irreparable injury as a result of such conduct unless Defendants are
restrained by tiuis Court. Plaintiff has no adequate remedy at law.

52, In committing these acts, Defendants acted willfully with fraud, malice, and/or a
knowing and reckless indifference toward, and a disrespect of, the rights of others, and
Defendants are able for punitive and exemplary damages.

RELIEF
WHEREFORE, Plaintiff Cannonball Musical Instruments, LLC demands Judgment

against Defenclants Sugal Mouthpieces and Gary Sugal as follows:
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A. For preliminary and permanent injunctive relief prohibiting Defendants, their
servants, agents, employees, attorneys and those persons acting in concert or participation with
them from:

1) reproducing, copying, counterfeiting, imitating, or otherwise using
Plaintif’s CANNONBALL MUSICAL INSTRUMENTS, CANNONBALL and BIG
BELL raarks or any confusingly similar mark, term, or phrase, including but not limited
to the marks CANNON BELL and BIG BELL; and

2) engaging in further acts of unfair competition and false designation of
origin.

B. For an order requiring Defendants to account for and pay over to Plaintiff all
gains, profits, and advantages derived by Defendants from their unfair competition.

Cc, For an award of three times Plaintiff's actual damages.

D. “or an order pursuant to 15 U.S.C. §1118 that all infringing labels, signs, prints,
packages, wrar pers, receptacles, articles of merchandise, displays, brochures, order forms, price

lists, catalogs, «nd advertisements in the possession or control of Defendants be delivered up for

destruction.
E, For reasonable attorney's fees and costs incurred in prosecuting this action.
F. For punitive and exemplary damages in an amount not less than five hundred

thousand dollars ($500,000.00).
G. For interest as provided by law.

H. For such further relief as the Court may deem proper.

DEMAND FOR JURY TRIAL

Plaintif’ hereby demands a jury trial on all claims for relief.

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DATED this 3rd day of September, 2003.

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MORRISS O°BRYANT COMPAGNI

 

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By: og eek bom. —
“Frank W. Commpaani, Esd7
Attorney for Carmonball Musical
Instruments, LLC
